                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                GREENEVILLE DIVISION

 B.P., et al.,

                 Plaintiffs,

 v.                                                     No: 2:23-cv-00071-TRM-JEM



 CITY OF JOHNSON CITY, TENNESSEE, et al.,

               Defendants.
         __________________________________/

                         DECLARATION OF VANESSA BAEHR-JONES

 I, VANESSA BAEHR-JONES, declare under penalty of perjury that the foregoing is true and

 correct:

      1. I am over twenty-one years of age and am competent in all respects to give this

         Declaration. This Declaration is given freely and voluntarily. I have personal knowledge

         of the foregoing matter and could, and would, testify competently thereto under penalty

         of perjury.

      2. I am lead counsel for Plaintiffs B.P., et al., in the above-referenced case. I am a licensed

         attorney in good standing in the State of California (CABN 281715) and admitted to

         appear pro hac vice in this District.

      3. Attached hereto as Exhibit 1, and filed under seal, is a true and correct copy of bank

         records received from Renasant Bank in response to a third-party subpoena in this case.

      4. Attached hereto as Exhibit 2 is a true and correct copy of a document produced by

         Defendant Johnson City in discovery in this case.


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    5. Attached hereto as Exhibit 3 is a true and correct copy of a document produced by

        Defendant Johnson City in discovery in this case. According to an email I received from

        counsel for Defendant City, JCPD officers accessed this public record concerning the tax

        sale of Sean Williams’ property during 2022.

    6. On March 15, 2024, Plaintiffs provided notice to Defendants in this case that they

        planned to serve a third-party subpoena on Female 4, and, on March 21, 2024, Plaintiffs

        served the subpoena. A true and correct copy of the email and attached subpoena is

        attached hereto as Exhibit 4.

    7. Prior to filing her motion to quash, Female 4 did not contact Plaintiffs’ counsel or object

        to the subpoena. Had Female 4 or her counsel contacted Plaintiffs, counsel would have

        granted her an extension.

    8. The “TBD” listed under location was intended to be a placeholder until Female 4 had

        been served and Plaintiffs’ counsel could hopefully determine a location convenient for

        both Plaintiffs’ counsel and Female 4, or provide for the possibility of an electronic

        exchange of documents, in which case a physical location would not be necessary.

    9. Female 4’s delay in responding to the subpoena has prejudiced Plaintiffs by depriving

        them of critical discovery needed for motion practice and depositions and generally

        impeding their investigation. Depositions in this case begin on May 21, 2024 (less than a

        week from this filing), and Plaintiffs urgently need the documents requested in the

        subpoena to Female 4.

 This is the 14th day of May 2024.

                                              /s/ Vanessa Baehr-Jones
                                              VANESSA BAEHR-JONES


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